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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA
____________________________________
                                         :
KARL FONTENOT,                           :
                                         :
           Petitioner,                    :
                                         :           CIVIL ACTION
     v.                                  :        6:16-cv-00069-JHP-KEW
                                         :
JOE ALLBAUGH, WARDEN,                     :
                                         :
            Respondent.                  :
____________________________________       :
MOTION FOR SANCTIONS, LEAVE TO AMEND PETITION FOR WRIT OF HABEAS
                     CORPUS AND REQUEST FOR A HEARING

       Comes now, Mr. Fontenot, by and through undersigned counsel and requests that this

Court permit Mr. Fontenot leave to amend his Amended Petition for Writ of Habeas Corpus

based upon newly discovered evidence related to Ada Police Department Reports disclosed on

February 6, 2019. These reports contain exculpatory and impeachment evidence which support

both Mr. Fontenot’s assertion of actual innocence, constitutional claims of Brady violations,

ineffective assistance of counsel, and defenses to Respondent’s procedural bar arguments. In

support, Mr. Fontenot states the following:

FACTS

       1.) On January 31, 2019, undersigned counsel became aware that the Ada Police

Department had released police reports to counsel for Thomas Ward, Mr. Fontenot’s co-

defendant pursuant to a joint discovery motion. Exhibit Four.

       2.) Respondent was served with the Ward subpoenas requesting discovery from various

law enforcement agencies including the Ada Police Department. Over 300 pages of police

reports were disclosed by the City Attorney of Ada to Ward’s counsel and Respondent on




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January 4, 2019. These documents are not numbered in any way and it is impossible to determine

whether this is the extent of the Ada Police Reports.

        3) At no time did Respondent or the City Attorney for Ada contact undersigned counsel

regarding the discovery of the Ada Police Reports.

        4) Undersigned counsel was dumbfounded to learn of the “discovery” of the Ada Police

Department Reports since Mr. Fontenot had served this Court’s subpoena to the Ada Police

Department in February 2017 and received nothing in response. Exhibit Three. The subpoena

ordered the Ada Police Department to produce its reports about the investigation of Donna

Denise Haraway’s disappearance and Mr. Fontenot’s prosecution. Exhibit One. In March 2017,

Counsel had received a letter in response to the subpoena informing Counsel that the City

Attorney Frank Stout had asked about responsive documents but been told the police department

“no longer has any of the documents requested.” Exhibit Three

        5) Undersigned counsel contacted Counsel for Respondent on January 31, 2019,

concerning the news that previously undisclosed police reports had been received by Ward’s

attorneys. Exhibit Six. Rather than acknowledge the existence of the records and admit their

disclosure, Counsel instead feigned ignorance as to Mr. Fontenot’s federal subpoena to the Ada

Police Department.

        6) In response to Counsel’s inquiry about reports that had been withheld from a federal

court’s subpoena, Respondent's attorney told Mr. Fontent’s attorney that “we are not aware of

any subpoena being served on the Ada Police Department during your habeas corpus

action.” 1 Exhibit Seven. Respondent’s Counsel asserted that he would contact Ada City


1
 In truth, Counsel for Respondent in his “Reply to Petitioner’s Response to Respondent’s Objection to Issued
Deposition subpoenas and Discovery” filed June 8, 2017, (Dkt. #71) had told the Court that he had been provided
copies of the subpoenas by Mr. Fontenot’s Counsel. Dkt. 71, Pg. 5, fn 4. That filing was in response to Mr.
Fontenot’s Response (Dkt. #66) in which undersigned counsel had referenced the subpoenas that were served on

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Attorney Frank Stout but “he is out of town right now, but he will look into whether they were

ever served with a federal subpoena.” Id.

        7) On Wednesday, February 6, 2019, Ada City Attorney Frank Stout forwarded several

files containing Ada Police Department reports that had never been provided to Mr. Fontenot

during 35 years of litigation and imprisonment. Mr. Stout wrote that he was, “now

supplementing my response and forwarding the email with attached reports/evidence in the

possession of the Ada Police Department which I previously sent to Mr. Barrett and Mr. Haire in

response to Mr. Barrett’s subpoena in the Ward case.” Exhibit Eight. It appears from the email

chain associated with Mr. Stout’s communication that Respondent’s Counsel had received the

Ada Police reports on January 7, 2019.

        8) Undersigned counsel has preliminarily reviewed the entirety of the few hundred pages

of documents produced by Mr. Stout and the Ada Police Department, and examples will be cited

below. However, the obvious bears stating: Respondent’s Counsel has an ongoing duty to

disclose exculpatory evidence, particularly in a litigation involving decades of suppression of

evidence.


THE RECORDS

        What follows is a list of some examples of exculpatory and impeachment evidence that

Undersigned counsel have found in the new reports. First, and most distressing, are what appear

to be Mr. Fontenot’s confidential letters written by Mr. Fontenot on pages from a yellow legal

pad to his trial attorney, George Butner. Exhibit Twelve. In these letters, he discusses his fears

and concerns about the upcoming trial, provides names of people who can corroborate his alibi,



the Ada Police Department, the Pontotoc Conty Sheriff’s Office, the Oklahoma State Bureau of Investigation, and
the Pontotoc County District Attorney’s Office. Dkt. #66, pg. 2.

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and expresses his frustration with the people in the Pontotoc County Jail playing games with

him. More importantly, he recants his confession and detailed police attempts to make him

confess. Given that the Pontotoc County Jail probably did not have a color photocopier in 1984-

1985, finding the original letters from a client to his defense counsel in the police records is

alarming and vexing on various levels.

       Other exculpatory reports include a previously undisclosed handwritten report taken from

Gene Whelchel about his description of men he had seen in McAnally’s. Exhibit Nine. The

prosecution had argued that Mr. Whelchel was one of the men who discovered Mrs. Haraway

was missing from McAnally’s. The report was made on April 30, 1984, two days after Mrs.

Haraway went missing provides extremely detailed descriptions of the men, down to Suspect #2

having a muscular arms, a narrow waist and larger shoulders. He describes acne scars on

Suspect #2. He describes Suspect #1 as a “neat looking guy” with an athletic build and probably

right handed. These details were never provided to defense counsel and would have been

essential to cross examining Mr. Whelchel and other witnesses. Further, these details were not

part of his testimony in any proceeding. Mr. Fontenot was neither muscular like Suspect #2, or a

neat looking guy. He is slightly built, and does not have the blond hair that Mr. Whelchel

attributed to Suspect #1, In sum, this was extremely pertinent information. It goes to the efficacy

of police investigation and the original description put out to the public. It goes to impeachment

of Mr. Whelchel.

       Exhibit Ten is an interview with James Boardman, an employee with the Ada

newspaper. Mr. Boardman’s statements or existence have never before been disclosed to Mr.

Fontenot. Apparently Mr. Boardman was in the McAnnally store at 5 p.m. on April 28, 1984,

and encountered two men that in his opinion were “acting funny.” He saw Mrs. Haraway there.



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Ada Police officers went back to Mr. Boardman after Mr. Fontenot was arrested in October

1984. Apparently he was shown pictures of Mr. Fontenot, Ward, and Titsworth. He did not

identify Mr. Fontenot as one of the men he saw, but he did make an identification in the Ward

photo spread. Exhibit Ten. His testimony is a bombshell in undersigned counsel’s estimation. It

provides alternative suspects. Mr. Boardman could have testified that he was at McAnally’s and

saw men acting strangely while Mrs. Haraway was there. It puts in doubt the timeline the

prosecution used at Mr. Fontenot’s trial, which tried to show Mrs. Haraway disappeared later in

the day. It certainly provided an avenue of investigation that was denied Mr. Fontenot.

       Additionally, two of the witnesses whose names were written on the McAnally’s register

tape provided almost the exact information to the Ada Police that they did to post-conviction

investigators when they provided their affidavits. Exhibit Eleven. In Mr. Haney’s notes the

police wrote, “ John McKinnis 8:05 PM bought pop. Man standing at counter. Large guy with

full beard. He purchased Liter bottle of Pepsi. $ .50 - $1.69 + tax. WM 5’11”, 195-200, 26-30

years old. Dark jeans, buttoned up shirt. Didn’t see any other vehicles parked outside.” Exhibit

Twelve. This report not only substantiates their affidavits, but provides concrete proof that the

Ada Police Department had numerous citizens coming forward providing descriptions of men in

the store and the gray pick-up before Gene Whelschel and his nephews arrived.

       In addition to the exhibits attached, undersigned counsel avers that much exculpatory

evidence remains to be examined in these records. The records contain many “Tip Sheets”

wherein citizens were calling into the Ada Police Department with sightings of potential suspects

or calling to let know police that they had been in McAnally’s. Within the reports are a number

of references to Floyd Degraw, an alternative suspect interviewed by the OSBI but never

divulged to Mr. Fontenot. There were several leads on pickups that matched the description of



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one seen by witnesses outside McAnally’s when Mrs. Haraway disappeared. In addition to

excellent direct evidence of suspects, alibi, or a false confession, the materials provide a wealth

of impeachment, both as to the state-sponsored eyewitnesses and the police investigation.

ARGUMENT

       The first reason such disclosure is problematic is due to the direct violation of this

Court’s subpoena to the Ada Police Department and the state court order which focused on these

very documents. Exhibit 1 & 2. In his March 17, 2017, response to service of this Court’s

subpoena, the Ada City Attorney stated that, “I inquired of Chief Miller regarding the requested

documents and he has informed me that the City of Ada Police Department no longer has any of

the documents requested.” Exhibit 3. Ada Police Department had similarly told counsel in Mr.

Fontenot’s state post-conviction proceedings that there were no records to be produced. That the

police department has now “found” records for Mr. Fontenot’s co-counsel that were

“unavailable” in the instant and prior proceedings is exceedingly troubling.

       As Mr. Fontenot has pled repeatedly, the pattern and practice of law enforcement and

prosecutors of withholding and hiding records and evidence it was constitutionally bound to

produce is blatant. In all instances - from Mr. Fontenot’s jury trial in 1985 to the current day -

his defense counsel requested these documents, yet the state feels the need to continue to play

“hide and seek” Nearly 35 years later. Exhibit 1 & 2. “A rule thus declaring "prosecutor may

hide, defendant must seek," is not tenable in a system constitutionally bound to accord

defendants due process. "Ordinarily, we presume that public officials have properly discharged

their official duties." Banks v. Dretke, 540 U.S. 668, 696 (2004). Yet, that does not seem to

apply to the Ada Police Department.




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        Respondent’s Counsel was in possession of exculpatory evidence for weeks without ever

disclosing its existence to Mr. Fontenot or the Court. It was only when Mr. Fontenot’s Counsel

confronted Respondent’s Counsel – and he stonewalled – that the reports finally came. Sadly, no

one should be surprised. This is simply the latest chapter in a sorry tale of willful non-disclosure

of exculpatory evidence and official abuse. But this cannot be abided. Respondent’s Counsel had

a duty that evidence shows he did not fulfill. Likewise, the Ada City Attorney had received a

federal subpoena specifically ordering the Ada Police Department to produce the salient reports

to Mr. Fontenot. Whether it was 2017 when the reports were requested, or 2019, when they were

allegedly “found,” Mr. Stout had a duty to the Court comply with the subpoena. He willfully

failed to fulfill that duty.

       The second concern realized by these withheld records is the reek of unclean hands it

places on Respondent. As Respondent desperately clings to the laches doctrine to prevent this

Court reaching the merits of Mr. Fontenot’s claims, all the while the Respondent's attorneys

willfully ignore their continuing obligation to disclose exculpatory, impeachment, and evidence

that aids a defense. Brady vs. Maryland, 373 U.S. 83, 87 (1963); Giglio v. United States, 405

U.S. 150, 153-56 (1972); United States v. Bagley, 473 U.S. 667, 676 (1985); Kyles v. Whitley,

514 U.S. 419, 437 (1995). Supreme Court precedent and the Tenth Circuit Court of Appeals

make clear the duty to disclose such information continues throughout the judicial

process. Pennsylvania v. Ritchie, 480 U.S. 39, 60, 94 L. Ed. 2d 40, 107 S. Ct. 989

(1987); Douglas v. Workman, 560 F.3d 1156, 1173 (10 Cir. 2004) citing Smith v. Roberts, 115
                                                         th




F.3d 818, 820 (10th Cir. 1997).

        Respondent’s attorney is counsel in both the instant case and in Mr. Ward’s state post-

conviction proceedings. As such, he agreed to discovery in Mr. Ward’s case in much the same



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manner as he did in Mr. Fontenot’s. Exhibit 5. Further, he knew a state court subpoena had been

issued to the Ada Police Department in late November 2018. Exhibit 5. Yet, instead of notifying

undersigned counsel when speaking about a continuance in mid-December, no word was made

about the “now discovered Ada Police Reports.” The Respondent also never advised this Court

of Ada Police Department’s flagrant disregard of this Court’s subpoena. Instead, undersigned

counsel learned of the undisclosed documents’ existence from Mr. Ward’s counsel. Such

behavior speaks to willful ignorance at best and intentional deception at worst. It certainly

obviates Respondent’s laches argument.

       The actions of the City Attorney for Ada and the Ada Police Chief are tantamount to

deliberate deception upon Mr. Fontenot and his defense counsel, and defiance of this Court’s

subpoena. The actions of these various entities is warrants immediate remedy by this Court.

Federal Rules of Civil Procedure 37 (b) (2) (A) permits the issuance of sanctions when “. . . a

party or a party's officer, director, or managing agent—or a witness designated under Rule fails

to obey an order to provide or permit discovery . . . the court where the action is pending may

issue further just orders.” The Court is also authorized to prohibit “the disobedient party from

supporting or opposing claims or defenses” or may render a default judgment against the

disobedient party. FRCP 37 (b) (2) (A) (ii) and (vi). Here, the Ada Police Department was served

a subpoena issued by this Court and the City Attorney and Chief of Police made false

declarations as to the evidence in their possession.

       Exacerbating the harm done to Mr. Fontenot is the domino-effect this had throughout his

trial, direct appeal, state post-conviction, and proceeding through this filing. By withholding

documents requested at every facet of his case by his defense attorneys, and being denied the

totality of the evidence he should have received, it has been made impossible for Mr.



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Fontenot to prove his constitutional violations. The facts demonstrate that the Pontotoc County

District Attorney, Oklahoma Attorney General’s Office, Ada Police Department, and Oklahoma

State Bureau of Investigation violated 3 different courts’ orders: the Oklahoma Court of

Criminal Appeals, the District Court of Pontotoc County, and the Federal District Court for the

Eastern District of Oklahoma.

       The impact of their defiance of these orders robbed Mr. Fontenot his ability to properly

and fully present Mr. Fontenot’s claims in state post-conviction proceedings and thwarted his

ability to properly plead and present his evidence in state court as 42 U.S.C. § 2254 (b)(1) & (2)

intended. The State’s actions likely impacted the state court’s decision regarding laches and

stole from Mr. Fontenot the ability to present further evidence of his innocence and

constitutional violations. Respondent argued in these proceedings that Mr. Fontenot failed to

pursue discovery in state court by moving for summary judgment, arguing the state district court

had resolved the claims. But now it comes to light that all the while - same as it ever was - that

Ada Police Department and the representatives of the state had hidden information from Mr.

Fontenot to this day. The four and half years that have transpired from the initial state court order

and the two years from the federal subpoena make this more than an inadvertent mistake.

Sanctions against these actors is necessary to demonstrate the substantial harm done to an

innocent man and to redress the defiance shown to this Court. See Sheet Metal Workers vs.

EEOC, 478 U.S. 421 (1986) (“[S]anctions in civil contempt proceedings may be employed "for

either or both of two purposes: to coerce the defendant into compliance with the court's order and

to compensate the complainant for losses sustained." Id. At 443, quoting United States v. Mine

Workers, 330 U.S. 258, 303 (1947).




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       Further, Respondent’s failure to alert defense counsel to these records while the case is

pending is equally troubling. These reports came to light just after the Court had ordered the

parties to submit proposed orders on issues like laches and exhaustion of state

claims. Respondent knows that the records had a bearing on the defenses he was raising to Mr.

Fontenot’s claims. But counsel for Respondent stayed quiet, only acting when the fact of the

newly-discovered reports came to light. He knew and agreed with the state court order for Ada

Police Reports. He was aware of the Court’s subpoena for the same. When he learned that these

records did exist, his ethical and legal obligations was to alert undersigned counsel which he

failed to do.

       WHEREFORE, undersigned counsel requests:

    1. A protective order for all files within the State’s custody concerning the investigation and

        prosecution of Mr. Fontenot and Thomas Ward. This includes the Oklahoma Attorney

        General’s Office, the Pontotoc County District Attorney’s Office, the Oklahoma State

        Bureau of Investigation, the Pontotoc County Sheriff’s Office, the Ada Police

        Department, the Clerk of the Court for the District Court of Pontotoc County, and the

        City Attorney of Ada. This protective order in no way limits or impacts upon Thomas

        Ward’s attorneys from fully investigating and obtaining documents in his state court

        proceedings.

    2. That Mr. Fontenot be released on bond pending the resolution of his claims. It is

        apparent that the actors have unclean hands and will not comply with court’s orders or

        agreements. This Court has jurisdiction and the ability to grant bail as part of habeas

        corpus proceedings. See In Re Shuttlesworth, 369 U.S. 35, 82 S. Ct. 551, 7 L. Ed. 2d 548

        (1962); (A Petitioner must “raised substantial constitutional claims upon which he has a



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   high probability of success, and also [that] extraordinary or exceptional circumstances

   exist which make the grant of bail necessary to make the habeas remedy effective.”

   Calley v. Callaway, 496 F.2d 701, 702 (5th Cir. 1974) (citing Aronson v. May, 85 S. Ct.

   3, 13 L. Ed. 2d 6 (1964) (Douglas, J. on application for bail); Glynn v. Donnelly, 470

   F.2d 95 (1st Cir. 1972); Woodcock v. Donnelly, 470 F.2d 93 (1st Cir. 1972) (per curiam);

   Benson v. California, 328 F.2d 159 (9th Cir. 1964); Boyer v. Orlando, 402 F.2d 966 (5th

   Cir. 1968); Baker v. Sard, 420 F.2d 1342 (D.C.Cir. 1969)). It is indisputable that the

   State’s actions have delayed these proceedings to the detriment of Mr. Fontenot. Further

   investigation must be performed into these new records, and it should not be time levied

   against Mr. Fontenot while he is incarcerated.

3. That Mr. Fontenot have leave to Amend his Amended Petition for Writ of Habeas Corpus

   including leave to investigate the other information in the Ada Police Reports regarding

   alternative suspects and facts related to other constitutional violations.

4. That all exhaustion bars be deemed waived by the Respondent’s actions. FRCP 37 (b) (2)

   (A) (ii) and (vi). Further, undersigned counsel prays this Court assess these actions

   when considering the veracity of Respondent’s laches argument given the blatant

   violations of two court orders.

5. Mr. Fontenot requests a hearing wherein the parties answer to the details of these

   documents being “discovered” and may explain to the Court how such actions have

   delayed a proceeding that was almost at its end. This hearing may also be necessary to

   determine whether an evidentiary hearing is necessary and other procedural issues that

   have now arisen in this case.



                                                    /S/ Tiffany R. Murphy
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2019, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the Eastern District of Oklahoma by

using the CM/ECF system. I certify that all participants in the case are registered CM/ECF users

and that service will be accomplished by the CM/ECF system.



       By: /S/ Robert Ridenour
       ROBERT RIDENOUR




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